Case 2:19-cv-00387-JRG Document 61 Filed 10/23/20 Page 1 of 1 PageID #: 2722




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

SNIK LLC                                      §
                                              §
v.                                            §
                                                        Case No. 2:19-CV-0387-JRG
                                              §
SAMSUNG ELECTRONICS CO., LTD., ET             §
AL.                                           §

                                  Markman Hearing
                         MAG. JUDGE ROY PAYNE PRESIDING
                             (Referred for Markman only)
                                   October 23, 2020
OPEN: 9:00 am                                            ADJOURN: 11:05 am

ATTORNEYS FOR PLAINTIFF:                          John Kyle

ATTORNEY FOR DEFENDANTS:                          Patrick Reidy
                                                  Jin Park
                                                  Melissa Smith

TECHNICAL ADVISOR:                                Shane Nelson

LAW CLERK:                                        Nate Legum

COURT REPORTER:                                   Susan Zielie

COURTROOM DEPUTY:                                 Becky Andrews

Court opened. Case called. John Kyle announced ready. Melissa Smith announced ready and
introduced co-counsel.

The Court heard argument on a term by term basis. John Kyle presented argument on behalf of
Plaintiff. Patrick Reidy presented argument on behalf of Defendants.

The Court took the claim construction matters under submission.
